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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,                        Criminal Case No. 07-20411
                                                HON. GEORGE CARAM STEEH
 vs.

 ERNEST HAYES,

            Defendant.
 _____________________________/

  ORDER DENYING APPLICATION FOR APPOINTMENT OF COUNSEL (Doc. # 232)

       Defendant Hayes pleaded guilty to maintaining a drug establishment in violation of

 21 U.S.C. § 856(a)(1) and was sentenced to 120 months imprisonment in 2009. Since

 then, Hayes has filed an unsuccessful 28 U.S.C. § 2255 motion and several unsuccessful

 motions to reduce his sentence based on the amendments to the crack cocaine sentencing

 guidelines. In June 2012, the court prohibited Hayes from filing any further “motion or

 request for reduction in sentence based on the crack guideline amendment.”

       Hayes now requests the appointment of counsel, despite the above quoted order,

 and without any proceedings pending in this court. That request is, accordingly, DENIED.

       IT IS SO ORDERED.

 Dated: December 17, 2012
                                         s/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE
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                                CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record
                     and on Ernest Hayes #42179-039 at FCI Allenwod,
                       P. O. Box 2000, Whitedeer, PA 17887-2000 on
                   December 17, 2012, by electronic and/or ordinary mail.

                                      s/Barbara Radke
                                        Deputy Clerk




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